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                                No. 20-12107

                  In the United States Court of Appeals
                         for the Eleventh Circuit


              INDEPENDENT PARTY OF FLORIDA and
             PARTY FOR SOCIALISM AND LIBERATION,
                       Plaintiffs/Appellants,

                                      v.

                            LAUREL M. LEE,
             Florida Secretary of State, in her official capacity,
                            Defendant/Appellee.

  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                         DISTRICT OF FLORIDA
                  CASE NO.: 4:20-cv-00110-MW-MAF

                    APPELLEE’S ANSWER BRIEF

                          BRADLEY R. MCVAY
                            General Counsel
                         Florida Bar No.: 79034
                   Brad.McVay@DOS.MyFlorida.com
                            ASHLEY E. DAVIS
                        Deputy General Counsel
                         Florida Bar No.: 48032
                   Ashley.Davis@DOS.MyFlorida.com

                     FLORIDA DEPARTMENT OF STATE
                           R.A. Gray Building
                   500 South Bronough Street, Suite 100
                          Tallahassee, FL 32399
                        (850) 245-6536 telephone
                        (850) 245-6127 facsimile

                        Counsel for Defendant/Appellee
                          Florida Secretary of State
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                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned certifies that the Plaintiffs-Appellants’ Certificate of

Interested Persons in their Initial Brief is correct but incomplete and therefore adds

the following interested persons as required by Federal Rule of Appellate Procedure

26.1 and Eleventh Circuit Rule 26.1-1:

      1. Walker, The Honorable Mark – district court Judge.




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              STATEMENT REGARDING ORAL ARGUMENT

      Appellee, Laurel M. Lee, in her official capacity as Florida Secretary of State

(“Secretary”), requests the Court dispense with oral argument because the issues are

not novel and time is of the essence.




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                        STATEMENT OF JURISDICTION

        The district court’s subject matter jurisdiction below was based on a challenge

under the United States Constitution pursuant to 42 U.S.C. § 1983. Appx 1 at 16, ¶

4.1     The order appealed from denied the Plaintiffs-Appellants’ Motion for

Preliminary Injunction. Appx. 39 & 40. The notice of appeal was filed on June 25,

2020, seventeen (17) days after the order appealed from was entered. See Appx. 40

(June 25, 2020). This appeal is therefore timely.




1
  Citations are to the Appendix as “Appx. * at **, ¶ ***” where “*” is the tab of
the Appendix, “**” is the page of the Appendix, and “***” is the paragraph
number, if any. The Supplemental Appendix is cited the same way as “Sup.
Appx.”
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                            STANDARD OF REVIEW

      The Minor Parties are correct as to the standard of review. Preliminary

injunction decisions are reviewed for abuse of discretion. IB at 20. Further, when

reviewing ballot access requirements such as the alternatives at issue here, the three

step process in Anderson v. Celebrezze, 460 U.S. 780 (1983) is used. IB at 20-21.




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                         STATEMENT OF THE ISSUES

      Plaintiffs-Appellants are minor political parties in Florida (“Minor Parties”)

and raise only two specific alleged errors on appeal in their Statement of the Issues

Presented for Review, IB at 10, and in their Summary of the Argument, IB at 22-23,

restated by the Secretary as 2 and 3 below. Although not preserved in their Issues

and Summary sections, the Minor Parties seem to raise an additional issue in their

Argument, IB at 24. To the extent arguments that are not specifically identified by

the Minor Parties as points for review even need to be addressed, the Secretary has

restated the issue as 1 below.

      1.     Whether the district court failed to evaluate both alternatives together

in determining the burden and therefore erred by finding the burden was not severe,

where there is undisputedly Eleventh Circuit precedent, a history of minor party

access in Florida, and a lack of practical barriers to the Minor Parties’ access to

Florida’s presidential ballot.

      2.     Whether the district court erred by concluding the 1% petition method,

which has concededly been upheld previously, still furthers the interests in requiring

a showing of a modicum of support prior to ballot placement, where the only change

is that Florida created a separate and additional method of ballot access that allows

parties with support nationally to also participate in presidential elections.




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      3.     Whether the district court erred by concluding the national affiliation

method does not violate the equal protection clause, where the method rationally

serves the state’s interests by providing an alternative means to demonstrate support

nationally in order to account for whatever “national interest” there may be in

presidential elections as recognized in U.S. Supreme Court precedent.




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                           STATEMENT OF THE CASE

        This action challenges the constitutionality of subsections (4)(a) and (4)(b) of

section 103.021, Florida Statutes (2020), which are Florida’s alternative methods of

ballot access for minor political parties, like Plaintiffs-Appellants (“Minor Parties”).

This appeal challenges the district court’s order denying the Minor Parties’ Motion

for Preliminary Injunction. Appx. 39 (denying Appx. 9).

 I.     FACTS

        Minor political parties can access Florida’s General Election Ballot and,

consequently have their presidential candidate’s names printed thereon by either: 1)

affiliation with a national party; or, 2) by petitions signed by one percent (1%) of the

state’s electors. See Fla. Stat. § 103.021 (4)(a) (affiliation) and (b) (petition). For

access to the 2020 Ballot, 132,781 signed petitions are needed from the pool of

13,278,100 registered electors. Minor parties in Florida are those that, among other

things, “which on January 1 preceding a primary election do[] not have registered as

members 5 percent of the total registered electors of the state.” Fla. Stat. § 97.021

(19).

   A. Minor Party Access to Florida’s Ballot

        As to the affiliation method, four (4) out of the seven (7) minor parties in

Florida are affiliated with national parties and may therefore certify their presidential

candidates for ballot placement on the 2020 General Election Ballot. Appx. 1 at ¶¶

                                           10
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20-23; Sup. Appx. 34 at 56; IB at 49. Minor parties in Florida have done so in the

past with success as well. See Appx. 9-1. Since the current alternatives have been

in place, ten (10) minor parties accessed Florida’s ballot by certifying affiliation in

2012 and four (4) accessed it in 2016. Sup. Appx. 9 at 20 (“all minor political

parties” in Florida were on the 2012 ballot); Appx. 33 at ¶ 8 & 33-8 (2012 Candidate

Listing). Interestingly, Party for Socialism and Liberation was one of those minor

parties on the 2012 ballot. Sup. Appx 9 at 34; Appx. 33 at ¶ 8 & 33-8 (2012

Candidate Listing). A many and varied other minor parties have accessed the ballot

by affiliation in every presidential election since 2000. See Appx. 33 at ¶ 8 & 33-8

(Candidate Listing).2 In all of those years, the two major parties were also on the

ballot, along with some combination of no-party-affiliated (NPA) and write-in

candidates. Id.

      Minor parties and candidates have also accessed Florida’s ballot using the

petition method, at the same 1% threshold or at a higher, previous threshold. In

1996, a minor party achieved placement on Florida’s presidential ballot by either

being affiliated with a national party and meeting a 3% signature requirement, or




2
 From 2000 to 2016: Prohibition Party, Constitution Party, Libertarian Party,
Florida Socialist Workers Party, BTP, America’s Party of Florida, Party for
Socialism and Liberation – Florida, Green Party, Socialist Party of Florida,
Ecology Party of Florida, Objectivist Party, Reform Party, The Natural Law Party,
Workers World Party, Justice Party of Florida, Peace and Freedom Party.
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meeting the same 1% requirement here.3 Appx. 33 at ¶ 8 & 33-8 (1996 Candidate

Listing) (Ross Perot Reform Party); Fla. Stat. § 103.021 (3), (4) (1995). Another

minor party that year seems to have done the same. Appx. 33 at ¶ 8 & 33-8 (1996

Candidate Listing) (Harry Browne Libertarian Party).

       Florida has the same, alternative 1% petition threshold for statewide

candidates to access the ballot as well. Fla. Stat. § 99.095 (2)(a). In 2010, candidate

Kendrick Meek successfully attained ballot placement for election to the Office of

United States Senate by collecting the requisite petitions from 1% of Florida’s

voters. Appx. 33 at ¶ 9 & 33-9 (Candidate Listing U.S. Senate 2010).

    B. Petitioning in Florida

       Petitioning generally is a regular occurrence in Florida. For the 2020 General

Election Ballot, four initiative petition sponsors have successfully attained position

for their proposed constitutional amendments by, among other things, collecting

signed petitions. Appx. 33 at ¶ 10 (2020 Initiatives). The petition threshold is higher

for initiative petitions than for candidates or minor parties. Initiative petition

sponsors must collect petitions “signed by a number of electors in each of one half

of the congressional districts of the state, and of the state as a whole, equal to eight

percent of the votes cast in each of such districts respectively and in the state as a


3
  We cannot tell from the records which method was actually used, but the point is
that each access method available at that time was as difficult or more difficult
than the current alternative methods.
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whole in the last preceding [presidential] election.” Fla. Const. art. XI, § 3; Fla. Stat.

§ 100.371. That means that each of the four sponsors who attained ballot placement

collected 766,200 signed petitions. Moreover, each signature they collected only

had a 2-year shelf life. Fla. Stat. § 100.371 (11).

       Voters also regularly sign candidate petitions. In the qualifying period that

occurred prior to the preliminary hearing below (for U.S. Representative, judicial,

state attorney, and public defender candidates ending on April 24, 2020), see

sections 99.061 and 105.031, Florida Statutes, 32 candidates qualified by the petition

method. Appx. 34-1 at ¶ 10.

   C. The Minor Parties

       The Party for Socialism and Liberation has existed for 12 years, yet has only

683 members. Appx. 33 at ¶¶ 5, 7. Over its 12 years, it has raised a total of only

$6,566 in contributions. Appx. 33 at ¶ 6. The Independent Party has existed for at

least 24 years and has 106,580 members, yet it has raised a total of only about

$19,378 in contributions in the 21-year period of the Divisions’ records. Appx. 33

at ¶¶ 2-3, 7.

       The Minor Parties have not placed candidates on the ballot in any other race.

There is a dearth of evidence that they even have the internal structure to do so. See

Appx. 20-2 (corrected Bach Decl.); Appx. 9-8) (Ellis Decl.). Nor is there evidence

that the Minor Parties engage in any party activity like voter registration or any form

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of candidate campaigning. Id. Their only party activity seems to be a desire to be

on the presidential ballot in Florida.

II.   PROCEDURAL HISTORY

      The Minor Parties initiated this action on February 24, 2020. Appx. 1. The

Secretary moved to dismiss on March 27, 2020. Appx. 8. The Minor Parties

responded in opposition on April 10, 2020. Appx. 15. The district court denied the

motion on June 8, 2020. Appx. 37.

      On April 6, the Minor Parties moved for a preliminary injunction to achieve

ballot placement without any showing of a modicum of support. Sup. Appx. 9. The

Secretary responded in opposition on May 22, 2020. Sup. Appx. 42. The Secretary

included an affidavit from the Director of the Division of Elections, Appx. 34-1, and

a request for judicial notice of election and campaign facts and information, Appx.

33. The district court subsequently granted judicial notice. Sup. Appx. B at 99-100.

The Minor Parties replied on May 29, 2020. Sup. Appx. 35. The district court heard

the motion for preliminary injunction and denied the same on June 8, 2020. Appx.

39. The Minor Parties’ appeal of that order followed the same day. Appx. 40.




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                       SUMMARY OF THE ARGUMENT

      States may undoubtedly require a preliminary showing of a modicum of

support before placing a minor political party on the ballot. E.g. Jenness v. Fortson,

403 U.S. 431, 442 (1970). The district court correctly declined to place the Minor

Parties on the ballot without any such showing, concluding that Florida’s alternative

methods for ballot access are reasonable and nondiscriminatory measures of support,

using the concededly correct standard set forth in Anderson v. Celebrezze, 460 U.S.

780 (1983).

      The Minor Parties argue three points of error in the district court’s application

of that test they argue require reversal as an abuse of discretion. First, they argue

that the district court failed to evaluate both alternative methods together and

therefore erred in finding the burden severe. IB at 24. The Minor Parties are

incorrect because the district court did evaluate the methods together and because

the entire scheme does not freeze the status quo, the burdens imposed are not severe.

Appx. 39 at 238-47.

      Second, the Minor Parties argue the district court erred by concluding the 1%

petition method, despite it admittedly being upheld, has now been rendered

unconstitutional by the addition of the alternative national affiliation method of

access that permits access without any showing of support in Florida. IB at 34.

They are incorrect because the addition of another method of access does not

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logically restrict access and because that affiliation method rationally accounts for

whatever “national interest” there may be in presidential elections. See Anderson,

460 U.S. at 781; Green Party of Ga. v. Georgia, 551 F. Appx 982, 984 (11th Cir.

2014). Even the Minor Parties argue that the “national interest” must be accounted

for. IB 40-43.

      Finally, the Minor Parties argue that the affiliation method violates equal

protection because it permits minor parties of a national scope to show support

differently than those with strictly instate scope. IB at 46. But the Minor Parties

have consistently argued that the two are different. IB at 39, 51-52; Sup. Appx. 9 at

31-35; Sup. Appx. 35 at 87-88. Florida’s alternative methods therefore allow in-

state minor parties to show support by petitioning the voters of this state and minor

parties of a national scope to show support by affiliation with a national party as

recognized by the FEC. Even the Minor Parties argue that such affiliation “amounts

to significant support outside of Florida.” IB at 39, 50-51.

      The district court’s interlocutory order was correct and the court in no way

erred. The order should therefore be upheld. The Minor Parties’ arguments to the

contrary are incorrect, illogical, and reject the concept they presented in their Motion

for Preliminary Injunction, Sup. Appx. 9 at 15, that the national interest plays a role

in presidential elections.




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                                   ARGUMENT

      The district court correctly denied the Minor Parties preliminary access to

Florida’s presidential ballot because they have no likelihood of success on their

constitutional attack of Florida’s alternative methods to gain such access. The

district court used the “balancing test set out in Anderson v. Celebrezze, 460 U.S.

780, 789 (1983),” which “controls challenges to ballot access requirements,”

“includ[ing] “equal protection challenges” to those requirements, in evaluating both

of the Minor Parties’ challenges. Appx. 39 at 238-50. The Minor Parties agree that

is the correct test. IB at 25 (“the Supreme Court has required a type of sliding scale

standard of review because states have a duty to regulate elections”).

      For the reasons in the district court’s order, Appx. 39, and the Secretary’s

Response in Opposition to Motion for Preliminary Injunction, Sup. Appx. 34,

Florida’s alternative methods do not impose a severe burden and further the well-

recognized interests in requiring a preliminary showing of party support before

placing that party on the ballot, acknowledging the differences between in-state

parties and national parties.   None of the Minor Parties’ specific points of error

require reversal. The interlocutory order on appeal should therefore be upheld for

that reason and because the order is correct.




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 I.   THE DISTRICT COURT DID NOT ERR IN CONCLUDING ANY
      BURDEN OF FLORIDA’S ALTERNATIVE ACCESS METHODS IS
      NOT SEVERE

      The Minor Parties first argue on appeal that the district court failed to consider

Florida’s alternative access methods together under the Anderson test, and for that

reason, erred in finding the burden they produce not severe. IB at 24 (“Rather than

consider the two regulations within the full statutory context, the court considered

the two ballot access [sic] distinctly and independently from each other” in weighing

the burden). Each method is an alternative to the other. A minor party need only

meet one. Nevertheless, in evaluating the burden on a minor party, the district court

analyzed them separately and together in order to conclude that the total burden is

not severe. Appx. 39 at 239-47.

      A. The district court correctly determined any burden from Florida’s
         alternative access methods is not severe.

      The district court correctly determined any burden from Florida’s alternative

access methods is not severe because of the Eleventh Circuit precedent, comparison

to other state’s methods, the history of actual access in Florida, and the lack of

practical barriers to access. Appx. 39 at 239-47.

      The only evidence of the severity of the burden put forth by the Minor Parties

was an alleged cost of $100,000 to hire petition circulators and the lack of desire to

affiliate with a national party. See Sup. Appx. 34 at 55-58. On the other hand, the

district court rightly noted that the Eleventh Circuit has rejected such cost, Appx. 39
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n. 5 (citing Stein v. Ala. Sec’y of State, 774 F. 3d 689, 697 (11th Cir. 2014)), and that

the Minor Parties themselves have pointed to the ease with which affiliation has and

can occur, id. at 243 (citing the Minor Parties’ Motion).

      The Minor Parties’ own evidence indicates that most minor parties in Florida

are affiliated with national parties and that other minor parties have also done so in

the past with success as well. Since the current alternatives have been in place, as

many as ten (10) minor parties accessed Florida’s ballot by affiliation. A many and

varied other minor parties have accessed the ballot by affiliation in every presidential

election since 2000. In all of those years, the two major parties were also on the

ballot, along with some combination of no-party-affiliated (NPA) and write-in

candidates. Voters have never been short on choice in Florida, even looking at minor

party choices alone. The affiliation method does not impose a severe burden.

      Nor does the 1% petition method. The Minor Parties’ membership numbers,

the alleviating factors recognized in Libertarian Party of Florida v. State of Fla.,

710 F. 2d 790 (11th Cir. 1983) and U.S. Taxpayers of Fla. v. Smith, 871 F. Supp.

426 (N.D. Fla. 1993), aff’d, 51 F. 3d 241 (11th Cir. 1995), and the four years they

have to collect signatures belies any argument to the contrary. See Appx. 8 at 33-

37. And Minor parties and candidates have actually satisfied Florida’s petition

method and other, more burdensome petition methods.              A candidate has met

Florida’s same 1% petition method in 2010. Sup. Appx. 34 at 60. Two minor parties

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have also met the same, or perhaps higher, percentage threshold in 1996. Appx. 39

at 243; Sup. Appx. 34 at 60. Even the Minor Parties concede that a candidate has

met California’s 1% threshold that requires a higher raw number of petitions. IB at

39; Appx. 39 at 242. Florida’s 1% petition method is also well-within the boundaries

upheld as not severe. Storer v. Brown, 415 U.S. 724, 740 (1974) (“gathering 325,000

signatures in 24 days would not appear to be an impossible burden” or an

“impractical undertaking for one who desires to be a candidate for President”); De

La Fuente, 278 F. Supp. 3d 1146, 1155 (C.D. Cal. 2017) (finding 267,058 signatures

in California’s 105-day window is not a severe burden), aff’d 930 F. 3d 1101 (9th

Cir. 2019).

      At bottom, a ballot access law imposes a severe burden only if it “freezes the

status quo by effectively barring all candidates other than those of the major parties”

and does not “provide a realistic means of ballot access.” Libertarian Party of

Florida v. State of Fla., 710 F.2d 790, 793 (11th Cir. 1983) (emphasis added).

Indeed, the “primary concern is with the tendency of ballot access restrictions to

limit the field of candidates from which voters might choose.” Anderson, 460 U.S.

at 787 In no way has Florida’s alternative access methods limited voters’ choice. To

the contrary, they have allowed many and varied minor parties to access Florida’s

ballot in every presidential election. The district court was therefore correct in

concluding the methods are not severe together or separate.

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      B. The district court did analyze both methods in determining the
         burden.

      The district court did indeed analyze both methods together in determining

the burden they may inflict is not severe. Specifically, the district court evaluated

the history of minor party access in Florida under both methods. Appx. 39 at 243-

44. And because the alternative access methods have not frozen the status quo, like

methods that have been found to be severe, the district court correctly concluded that

Florida’s scheme is not severe. Id.; Green Party of Georgia v. Kemp, 171 F. Supp.

3d 1340 (N.D. Ga. 2016) (finding severe because no minor parties accessed the

ballot in fifteen years), aff’d mem. 674 Fed. Appx. 974, 2017 WL 429257 (11th Cir.

2017); Libertarian Party of Ohio v. Blackwell, 462 F. 3d 579 (6th Cir. 2006) (finding

severe because ballot monopolized by major parties).

      The Minor Parties do not dispute that minor parties and candidates have

accessed Florida’s ballot using the national affiliation method and the petition

method. Indeed, they detail the great extent to which minor parties have accessed

Florida’s presidential ballot using the affiliation method since 2000, IB at 13-14, and

how many more could do so in 2020, IB at 48-49. They also do not dispute that a

statewide candidate gained access to Florida’s ballot in 2010 using the same (in

substance) 1% petition method. The Minor Parties merely argue that candidate was

not a minor party candidate but rather, the Democratic nominee. Sup. Appx. 35 at

91. What the Minor Parties ignore is that the candidate met the 1% petition threshold
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to access the primary ballot in order to seek that nomination. The candidate was not

the Democratic nominee when petitioning.

         The Minor Parties are therefore incorrect in arguing the district court did not

evaluate the alternative methods together in order to determine the burden they may

inflict is not severe. The Minor Parties do not argue that even if that is correct, the

district court erred in applying lesser scrutiny. They seem to have conceded below

that if the burden is not severe, then the scheme should be upheld. Sup. Appx. B at

145 (transcript). The Minor Parties do not argue the contrary on appeal. See IB at

21, 25. The district court therefore did not err on this point as the Minor Parties

argue.


II.      THE DISTRICT COURT DID NOT ERR BY CONCLUDING THE
         1% PETITION METHOD WAS NOT RENDERED
         UNCONSTITUTIONAL BY THE ADDITION OF AN
         ALTERNATIVE ACCESS METHOD

         The district court correctly concluded that both of Florida’s alternative access

methods are justified by the interests in requiring a showing of a modicum of support

before being placed on the ballot. Appx. 39 at 247-50. The interests are well-

recognized. Id.; e.g. Jenness v. Fortson, 403 U.S. 431, 442 (1970). The Minor

Parties do not dispute this. See IB. Nor do they dispute that Florida’s 1% petition

method has previously been upheld. See IB. Rather, they argue only that the 1%

petition method is no longer justified by those interests because minor parties can

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access the ballot by the affiliation method without any showing of support in

Florida. IB at 35.

      But no case limits the well-recognized interests in that way; the Minor Parties

certainly have not cited one. To the contrary, the interests are stated broadly in

requiring a showing of support as to the minor party or candidate. The purpose being

to ensure that the minor party or candidate is not frivolous, Anderson, 460 U.S. at

788 n.9, intraparty feuds have been settled, interparty raiding is limited, Timmons v.

Twin Cities Area New Party, 520 U.S. 351, 352 (1997), and the ballot is reserved for

“major struggles,” Burdick v. Takushi, 504 U.S. 428, 439 (1992), to maintain the

“integrity of the political process,” Storer v. Brown, 415 U.S. 724, 731 (1974),

among other interests.

      The Minor Parties put forth a “national interest” that they purport

“diminishe[s]” any interest Florida has because the outcome of a presidential

election “will largely be determined by voters beyond the State’s boundaries.” IB at

41-43; Sup. Appx. 9 at 15. Assuming the election will be so determined, but Sup.

Appx. 34 at 56, it would not matter at all to the Minor Parties who are strictly in-

state parties, or parties seeking only to boost a particular candidate’s total vote. Sup.

Appx 9 at 34-37; Appx 9-1 at ¶¶ 43-48. The “primary function of elections is to

elect candidates” after all, not give minor party voters “satisfaction knowing that he




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or she has helped to boost the candidate’s total.” Libertarian Party v. District of

Columbia, 768 F. Supp. 2d 174, 186 (D.C. Cir. 2011).

       Nor are the Minor Parties correct that a “diminishment” of the interests means

that a state can only lessen the requirement for an instate showing. See IB at 41

(alleging the national interest just means “it is always a bit more difficult for a state

to justify ballot access regulations”); see id. at 42-43 (explaining same). That is not

the only way to account for the “different balance” that may be needed. Appx. 39 at

248 citing Green Party of Ga. v. Georgia, 551 F. Fed Appx 982, 984 (11th Cir.

2014). And if the election will be determined outside Florida’s borders, then it is

not improper to gauge support from those voters in some way. Florida has chosen

alternative methods that allow minor parties to show the required support in a way

that respects their associational interests in being an in-state or national minor party.

That choice is valid.


III.   THE DISTRICT COURT DID NOT ERR IN CONCLUDING THE
       ALTERNATIVE NATIONAL AFFILIATION METHOD
       RATIONALLY SERVES FLORIDA’S INTERESTS IN A NATIONAL
       ELECTION

       Finally, the Minor Parties argue that the district court erred in concluding the

national affiliation method does not violate equal protection because it “failed to

discuss equal protection” and “how the distinguishing fact that separates minor

parties” for ballot access “is how the parties exercise the fundamental First

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Amendment right to freely associate.” IB at 46. But the district did undisputedly

use the correct standard – whether the access method “rationally serves important

state interests” because the burden is “not severe.” Appx. 39 at 250; id. at 238 (citing

Fulani v. Krivanek, 973 F. 2d 1539, 1543 (11th Cir. 1992) for adopting the Anderson

test for equal protection challenges to ballot access laws). And Florida’s national

affiliation method does indeed rationally serve the interests in presidential elections.

The method is not impermissibly discriminatory.

      As the Minor Parties have argued, instate minor parties and national parties

are fundamentally different, including as to how they have chosen to associate.

Florida’s alternative methods of access recognize those differences and allow instate

parties to show a modicum of Florida support and national parties to show a

modicum of national support, in order to account for whatever “national interest”

there may be in presidential elections as recognized in U.S. Supreme Court

precedent. E.g. Anderson v. Celebrezze, 460 U.S. 780 (1983) (“in the context of a

Presidential election,   state-imposed      restrictions    implicate    a    uniquely

important national interest”).

      But not “every minor difference in the application of laws to different groups

[is] a violation.” Williams v. Rhodes, 393 U.S. 23, 30 (1968). If a state is not “guilty

of invidious discrimination” in recognizing “obvious differences in kind” between

major and minor political parties and “providing different routes to the printed

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ballot,” then there can be no discrimination in recognizing the apparent difference

between minor parties alleged here and providing different routes to the ballot. See

Jenness v. Fortson, 403 U.S. 431, 441-42 (1971) (noting that “[s]ometimes the

grossest discrimination can lie in treating things that are different as though they

were exactly alike”).

      Again, if the outcome of a presidential election “will largely be determined by

voters beyond the State’s boundaries” as the Minor Parties have argued, then it is

proper to gauge the support a minor party or candidate has outside of Florida. IB at

41; Sup. Appx. 9 at 15). According to the Minor Parties, Florida’s definition of a

“national party” as being recognized by the FEC, very much does so. Indeed, they

argue that recognition “amounts to significant support outside of Florida.” IB at 39;

IB at 50-51. The Minor Parties specifically argue that to attain recognition, the party

must place its candidates for president and congress on the ballot, “under the party

label, in several states” and be “organized throughout the United States.” IB at 50-

51; see also Appx. 9-1 at ¶ 19); Sup. Appx. 9 at 35. By the Minor Parties’ own

account then, the district court was correct in concluding that affiliation with such a

“national party” was a rational means of showing a modicum of support nationally.

Appx. 39 at 247-50.




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      The district court therefore did not err by concluding the national affiliation

method does not violate the equal protection clause, where the method rationally

serves all interests at play in national elections.

                                    CONCLUSION

      The district court’s order should therefore be upheld.



                                             Respectfully submitted,

                                             /s/ Ashley E. Davis
                                             BRADLEY R. MCVAY
                                             General Counsel
                                             Florida Bar No.: 79034
                                             Brad.McVay@DOS.MyFlorida.com
                                             ASHLEY E. DAVIS
                                             Deputy General Counsel
                                             Florida Bar No.: 48032
                                             Ashley.Davis@DOS.MyFlorida.com

                                             FLORIDA DEPARTMENT OF STATE
                                             R.A. Gray Building
                                             500 South Bronough Street, Suite 100
                                             Tallahassee, Florida 32399
                                             Telephone (850) 245-6536
                                             Facsimile (850) 245-6127

                                             Counsel for Defendant/Appellee
                                             Florida Secretary of State




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                     CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with Federal Rule of Appellate Procedure

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                                                   /s/ Ashley E. Davis
                                                   Attorney




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                           CERTIFICATE OF SERVICE

        I certify that on July 13, 2020, a true and correct copy of this brief was filed

electronically through the Court’s CM/ECF system generating service upon all

counsel of record. I further certify that on the same day, the foregoing was sent to a

print shop, from which seven paper copies will be sent to the Clerk via first-class

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                                                /s/ Ashley E. Davis
                                                Attorney




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